Case 3:20-cv-12969-RHC-KGA ECF No. 13, PageID.2797 Filed 03/07/22 Page 1 of 1



                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
______________________________________________________________________

ROBERT L. HOUGHTALING,

                        Petitioner,

v.                                                               Case No. 20-12969


SHANE JACKSON

                Respondent.
________________________________/

                                             JUDGMENT

        In accordance with the court’s “Opinion and Order Denying the Petition for Writ of

Habeas Corpus,” entered on March 7, 2022,

        IT IS ORDERED that the petition for writ of habeas corpus is DENIED.

        IT IS FURTHER ORDERED that a certificate of appealability with respect to only

Petitioner’s third claim and leave to appeal in forma pauperis are GRANTED.

        Finally, IT IS ORDERED AND ADJUDGED that judgment is entered for

Respondent Shane Jackson and against Petitioner Robert Houghtaling.



        Dated at Port Huron, Michigan, March 7, 2022.

                                                            KINIKIA ESSIX
                                                            CLERK OF THE COURT

                                                             By: s/Lisa Wagner
                                                             Lisa Wagner, Case Manager
                                                             to Judge Robert H. Cleland


S:\Cleland\Cleland\JUDGE'S DESK\C2 ORDERS\20-12969.HOUGHTALING.Judgment.BHB.MAZ.docx
